                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA

IN RE:                                          )
                                                )
JUDICIAL CIVIL FORFEITURE                       )     Misc. No. 22-mj-140
                                                )
PROCEEDING                                      )

                             MOTION FOR LEAVE OF COURT
                            TO FILE DOCUMENTS UNDER SEAL

         Plaintiff, United States of America, pursuant to Local Rule 5.1.c.,

respectfully requests the Court’s permission to file certain document under seal,

which is the Motion of the United States for Extension of Time to file Civil

Forfeiture Complaint with the U.S. District Court in the Northern District of Iowa.

The documents sought to be sealed contain information about an on-going criminal

investigation not yet public.

                                                Respectfully submitted,

                                                TIMOTHY T. DUAX
                                                Acting United States Attorney

                                                By: /s/ Martin J. McLaughlin

   CERTIFICATE OF SERVICE

 I hereby certify that on July 6, 2022, I
                                                MARTIN J. McLAUGHLIN
 electronically filed the foregoing with the    Assistant United States Attorney
 Clerk of Court using the ECF system which      111 - 7TH Avenue SE
 will send notification of such filing to the
 parties or attorneys of record.                Cedar Rapids, IA 52401
                                                (319) 363-6333
 UNITED STATES ATTORNEY
                                                (319) 363-1990 - fax
 By: /s/ B. Kilburg                             Marty.McLaughlin@usdoj.gov




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